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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

 JANICE THOMPSON,                          :   Civil No. 14-2653(MLC)

             Plaintiff,                    :

 v.                                        :        O R D E R

 WINNRESIDENTIAL LIMITED                   :
 PARTNERSHIP, et al.,
           Defendant                       :



       It appearing that it has been reported to the Court that the

 above action has been settled in its entirety;

       It is on this 31st day of March, 2015,

       ORDERED THAT:

       (1) This action is hereby dismissed without costs and

 without prejudice to the right, upon good cause shown within

 60 days, to reopen the action if the settlement is not

 consummated.

       (2)   If any party shall move to set aside this Order of

 Dismissal as provided in the above paragraph or pursuant to the

 provisions of Fed. R. Civ. P. 60(b), in deciding such motion the

 Court retains jurisdiction of the matter to the extent necessary

 to enforce the terms and conditions of any settlement entered

 into between the parties.

                                            s/Mary L. Cooper
                                           MARY L. COOPER
                                           United States District Judge
